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 2                                                                         FILED & ENTERED
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                                                                                  MAY 17 2023
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 5                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                             Central District of California
                                                                             BY fisherl    DEPUTY CLERK
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                              UNITED STATES BANKRUPTCY COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10
                                SAN FERNANDO VALLEY DIVISION
11
12
     In re:                                           Case No.: 1:23-bk-10618-VK
13
                                                      Chapter 11
14   SCHULTZ INVESTMENTS 21, INC.,
15                                                    ORDER SETTING HEARING ON STATUS
                                                      OF CHAPTER 11 CASE AND REQUIRING
16                                                    REPORT ON STATUS OF CHAPTER 11
                                                      CASE
17
                                    Debtor.           Date: June 8, 2023
18                                                    Time: 1:00 p.m.
19                                                    Place: Courtroom 301
                                                             21041 Burbank Blvd.
20                                                           Woodland Hills, CA 91367

21
22
23
              PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 105(d), the Court will conduct a
24
     status conference in the above captioned case at the place and time set forth above, which status
25
     conference may be continued from time to time, without further notice. The purpose of the
26
     conference is to further the expeditious and economical resolution of this case.
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 1          CERTAIN PARTIES ARE REQUIRED TO ATTEND, AS SET FORTH BELOW. ALL
 2   INTERESTED PARTIES ARE INVITED TO ATTEND, BUT NEED NOT DO SO.
 3          PLEASE TAKE FURTHER NOTICE that, based upon the Court’s records and evidence
 4   presented at the conference, the Court may take any of the following actions at the conference
 5   (or at any continued conference) without further notice:
 6          1.      Dismiss the case;
 7          2.      Convert the case to one under another chapter;
 8          3.      Order the appointment of a chapter 11 trustee;
 9          4.      Set deadlines for filing of a proposed plan and disclosure statement by the debtor
10                  or any other interested party;
11          5.      Fix the scope, format and service of the notices to be provided regarding the
12                  various matters to be considered in this case;
13          6.      Provide that the hearing on approval of the disclosure statement may be combined
14                  with the hearing on confirmation of the plan;
15          7.      Set a deadline for confirming a plan;
16          8.      Set deadlines for compliance with reporting and other chapter 11 debtor in
17                  possession requirements;
18          9.      Set deadlines for filing proofs of claim, objections to claims and/or requests for
19                  payment of administrative expenses;
20          10.     Set deadlines for assuming, assuming and assigning or rejecting executory
21                  contracts and unexpired leases;
22          11.     Adopt special procedures for managing adversary proceedings, contested matters
23                  and such other matters as may aid in the process of this case; and/or
24          12.     Refer matters to mediation.
25          PLEASE TAKE FURTHER NOTICE that, whether the debtor files its schedules and
26   statements using the 100 series (for individual debtors) or the 200 series (for non-individual
27   debtors), the forms are mandatory and must be executed under penalty of perjury. Any
28   disclaimers, reservations, caveats, general notes or exceptions that debtors or their counsel may




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 1   append to or include in such forms are ineffective to alter the duty of care or the level of detail
 2   required in connection with the preparation of these forms and do not create or preserve any
 3   rights that would not otherwise have existed in the absence of such language.
 4          IT IS HEREBY ORDERED that the debtor’s counsel must be present at the status
 5   conference; so should counsel for the official committee of unsecured creditors (if a committee
 6   has been appointed) and counsel for the United States Trustee. Any other interested parties may
 7   also appear and address the items described above.
 8          IT IS FURTHER ORDERED that at least fourteen (14) days before the status
 9   conference, the debtor must: (a) file with the Court a Case Status Conference Report and
10   (b) serve the Case Status Conference Report on the United States Trustee, all secured
11   creditors, the official committee of unsecured creditors and its counsel (or on the twenty
12   largest unsecured creditors if no committee has been appointed), and all other official
13   committees. Unless the Court orders otherwise upon request, the debtor must use the forms of
14   bar date order and notice posted on the Court’s website, located at www.cacb.uscourts.gov,
15   under “Local Rule Forms,” F 3003-1.ORDER.BARDATE and F 3003-1.NOTICE.BARDATE.
16   The debtor must timely serve “Judge’s Copies” in accordance with Local Bankruptcy Rule 5005-
17   2(d) and section 2-02 of the Central Guide.
18          IT IS FURTHER ORDERED that the Case Status Conference Report MUST BE
19   SUPPORTED BY EVIDENCE in the form of declarations and supporting documents and
20   should include the following:
21          1.      A brief description of the debtor’s business, if any, and the principal assets and
22                  liabilities of the estate;
23          2.      A brief description of the events that led up to and caused the filing of this case;
24          3.      A brief answer to each of these questions:
25                  a.      is the debtor in full compliance with 11 U.S.C. § 521, § 1107 and, if this is
26                          a small business case, § 1116, Rule 1007 of the Federal Rules of
27                          Bankruptcy Procedure, and all applicable guidelines established by the
28                          United States Trustee;




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 1              b.     is the debtor using cash that any party claims as its cash collateral and, if
 2                     so, on what date(s) did the debtor obtain an order authorizing the use of
 3                     such cash or the consent of such party;
 4              c.     is the debtor a small business debtor as that term is defined in 11 U.S.C.
 5                     § 101(51D);
 6              d.     does this case qualify as a single asset real estate case as that term is
 7                     defined in 11 U.S.C. § 101(51B);
 8              e.     what are the principal business, financial and legal disputes or problems to
 9                     be resolved in this case;
10              f.     when does the debtor anticipate resolving them; and
11              g.     what is the best method to resolve those disputes or problems
12                     expeditiously and cost-effectively.
13        4.    Identification of all professionals retained by or intended to be retained by the
14              estate, the dates on which applications for the employment of such professionals
15              were filed or submitted to the United States Trustee, the date on which orders
16              were entered in response to such applications, if any, and a general description of
17              the types of services to be rendered by each or the purpose of the employment;
18        5.    Evidence regarding the debtor’s actual income, expenses and cash flow for the
19              last six months preceding the filing of this case on a month by month basis;
20        6.    Provide a budget of the debtor’s projected income, expenses and cash flow for the
21              first six months of this case on a month by month basis;
22        7.    Discuss any significant unexpired leases and executory contracts to which the
23              debtor is a party and the debtor’s intentions with regard to these leases and
24              contracts; and
25        8.    Proposed deadlines for filing:
26              a.     proofs of claim; and
27              b.     plan of reorganization (or liquidation) and disclosure statement.
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 1           IT IS FURTHER ORDERED that, no later than one week preceding the date of the
 2   status conference, the debtor must file with the Court a proof of service regarding the Case
 3   Status Conference Report.
 4           IT IS FURTHER ORDERED that, no later than June 1, 2023, the debtor’s counsel must
 5   file and serve an application for employment in accordance with Local Bankruptcy Rule 2014-
 6   1(b).
 7           IT IS FURTHER ORDERED that, the parties are to attend the hearing via ZoomGov,
 8   which provides a live video connection with the Court. Any attorney or party in interest who
 9   makes an appearance on the record must appear by video. The following instructions will
10   apply to the ZoomGov hearing:
11           (1) Meeting Information: June 8, 2023

12              Meeting URL: https://cacb.zoomgov.com/j/1608951318
13
                Meeting ID: 160 895 1318
14
                Password: 335175
15
16              Join by Telephone: 1-669-254-5252 or 1-646-828-7666
             (2) Hearing participants and members of the public may view and listen to the
17
                hearing through ZoomGov free of charge. Individuals may connect by ZoomGov
18
                video and audio using a personal computer (equipped with camera, microphone
19
                and speaker), or a handheld mobile device (such as an iPhone). Neither a Zoom
20
                nor a ZoomGov account is necessary to participate and no pre-registration is
21
                required.
22
             (3) The audio portion of each hearing will be recorded electronically by the Court
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                and constitute its official record.
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 1        (4) All persons (other than Court staff creating the official record of the hearing) are
 2            strictly prohibited from making any audio or video recording of the
 3            proceedings.
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24       Date: May 17, 2023

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                    NOTICE OF ENTERED ORDER AND SERVICE LIST
 1
     Notice is given by the court that a judgment or order entitled: ORDER SETTING STATUS CONFERENCE
 2   was entered on the date indicated as “Entered” on the first page of this judgment or order and will be
     served in the manner indicated below:
 3
 4
     I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
 5   General Orders and Local Bankruptcy Rules, the foregoing document was served on the following
     persons by the court via NEF and hyperlink to the judgment or order. As of May 17, 2023, the following
 6   persons are currently on the Electronic Mail Notice List for this bankruptcy case or adversary proceeding
     to receive NEF transmission at the email addresses indicated below.
 7
 8       •    Katherine Bunker kate.bunker@usdoj.gov
         •    United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 9
10
                                                               Service information continued on attached page
11
12   II. SERVED BY THE COURT VIA U.S. MAIL: On May 17, 2023, a copy of this notice and a true copy of
     this judgment or order was sent by United States Mail, first class, postage prepaid, to the following
13   persons and/or entities at the addresses indicated below:

14           Debtor                                             Debtor’s Counsel
             Shultz Investments 21, Inc.                        Dixon G. Kummer
15           Attn: Dinorah L. Cordova, Vice-President           2031 F Street
             1702 Highclere Way                                 Bakersfield, CA 93301
16           Bakersfield, CA 93311

17
                                                               Service information continued on attached page
18
     III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment
19
     or order which bears an “Entered” stamp, the party lodging the judgment or order will serve a complete
20   copy bearing an “Entered” stamp by U.S. Mail, overnight mail, facsimile transmission or email and file a
     proof of service of the entered order on the following persons and/or entities at the addresses, facsimile
21   transmission numbers, and/or email addresses indicated below:

22
23                                                             Service information continued on attached page

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